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                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


 GOLF TRAVEL, LLC,

       Plaintiff,

 vs.
                                                         CASE NO.: 1:21-CV-63
 JOSEPH MULLINS, MULLINS SPORTS
 AND ENTERTAINMENT, LLC, JOHN
 DOE 1-10, ABC CORP 1-20,

       Defendants.

                       MOTION FOR SUMMARY JUDGMENT
         COME NOW Defendants and file this Motion for Summary Judgment pursuant to

Fed. R. Civ. Pro. 56. In support of this Motion, Defendants rely on their Statement of

Material Facts and Brief in Support of Defendants’ Motion for Summary Judgment filed

contemporaneously herewith.

         Respectfully submitted this 4th day of January 2023.

                                                 /s/Tameka Haynes______
                                                 Randolph Frails
                                                 Georgia Bar No. 272729
                                                 Tameka Haynes
                                                 Georgia Bar No. 453026

                                                 Attorneys for Defendants



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